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                                            JASON CLOTH
                        20 Stratheden Road, Toronto, Ontario, Canada M4N 1E3

    May 6, 2024

    Judge Robin L. Rosenberg
    Paul G. Rogers Federal Building and Courthouse
    701 Clematis Street
    Courtroom 2
    West Palm Beach, Florida 33401

    Re: Robert Scot Building Venture LLC v. Creative Wealth Media Finance, 9:23-cv-80282-RLR

    Dear Judge Rosenberg,

    As Your Honor is aware, I am a defendant in this action.

    The trial in the action is scheduled to begin tomorrow. I am respectfully writing to inform the
    Court that, for the reasons I stated in my letter to the Court dated April 18, 2024, and during
    the calendar call on May 1, 2024, I am not in a position to defend myself at trial since I am not
    an attorney and I would not know how to represent myself at the trial. Therefore, I will not be
    attending the trial.




                                                                Very truly you




    cc: David Jonelis
